            CASE 0:21-cr-00055-MJD-LIB Doc. 56 Filed 05/20/22 Page 1 of 2




                                     UNITED STATES DISTRICT COURT
                                        DISTRICT OF MINNESOTA


---------------------------------                          Case No.: 21-cr-55 (MJD)

UNITED STATES OF AMERICA,

                                     PLAINTIFF,

vs.                                                         DEFENDANT’S MOTION TO
                                                            EXTEND TIME TO FILE
                                                            SENTENCING POSITIONS

JARED JOHN FIEGE,

                                     DEFENDANT.

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        Defendant through his undersigned counsel, moves this Honorable Court for an extension

of time with respect to Defendant’s Sentencing Position until Friday, June 3, or two business

days prior to the rescheduled sentencing date, whichever is earlier. Counsel needs additional

time to meet with the Defendant.

        Counsel spoke to Ms. Lindsey E. Middlecamp, AUSA and she indicated that she does not

object to this request. Please advise.

                                                     Respectfully submitted,



                                                     RIVERS LAW FIRM, P.A..

Dated: May 20, 2022                                  By: s/ Bruce Rivers
                                                     Bruce Rivers
                                                     Attorney I.D. No. 282698
                                                     Attorneys for Defendant
                                                     701 Fourth Avenue South, Suite 300
                                                     Minneapolis, Minnesota 55415
                                                     Telephone: (612) 339-3939
CASE 0:21-cr-00055-MJD-LIB Doc. 56 Filed 05/20/22 Page 2 of 2
